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   1   Marc M. Seltzer (54534)                  Howard Langer (Pro Hac Vice)
       mseltzer@susmangodfrey.com               hlanger@langergrogan.com
   2   SUSMAN GODFREY L.L.P.                    LANGER GROGAN AND DIVER PC
       1900 Avenue of the Stars, Suite 1400     1717 Arch Street, Suite 4020
   3   Los Angeles, CA 90067-6029               Philadelphia, PA 19103
       Phone: (310) 789-3100                    Tel: (215) 320-5660
   4   Fax: (310) 789-3150                      Fax: (215) 320-5703
   5   Scott Martin (Pro Hac Vice)
       smartin@hausfeld.com
   6   HAUSFELD LLP
       33 Whitehall Street, 14th Floor
   7   New York, NY 10004
       Tel: (646) 357-1100
   8   Fax: (2121) 202-4322
   9
       [Additional Counsel on Signature Page]
  10
       Plaintiffs’ Co-Lead Counsel
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  12
                            UNITED STATES DISTRICT COURT
  13
                          CENTRAL DISTRICT OF CALIFORNIA
  14

  15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (JEMx)
       LEAGUE’S “SUNDAY TICKET”
  16   ANTITRUST LITIGATION
                                                NOTICE OF MOTION AND
  17   THIS DOCUMENT RELATES TO                 MOTION TO TAKE LIMITED
       ALL ACTIONS                              DISCOVERY AFTER THE
  18                                            DEADLINE FOR FACT
                                                DISCOVERY
  19
                                                JUDGE: Hon. Philip S. Gutierrez
  20                                            DATE: August 19, 2022
                                                TIME: 1:30 p.m.
  21                                            COURTROOM: First Street Courthouse
                                                           350 West 1st Street
  22                                                       Courtroom 6A
                                                           Los Angeles, CA 90012
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   1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2         PLEASE TAKE NOTICE that on August 19, 2022 at 1:30 p.m., or as soon
   3   thereafter as this matter may be heard, Plaintiffs, on behalf of themselves and all
   4   others similarly situated, (“Plaintiffs”) will and hereby respectfully move for an
   5   order to take limited discovery after the deadline for fact discovery, pursuant to
   6   Federal Rule of Civil Procedure 16.
   7         This Motion will be heard in the Courtroom of the Honorable Philip S.
   8   Gutierrez for the United States District Court in the Central District of California.
   9   The Court is located at the First Street Courthouse, 350 West 1st Street, Los
  10   Angeles, California 90012, Courtroom 6A.
  11         This Motion is based upon this notice, the concurrently filed memorandum of
  12   points and authorities, the exhibits and declarations attached thereto, the pleadings
  13   and records on file in this action and such other matters as the Court deems
  14   necessary and proper.
  15         This Motion is made following conferences of counsel pursuant to Local
  16   Rule 7-3, which took place on July 7 and July 8.
  17

  18   DATED: July 15, 2022                  By:     /s/ Marc M. Seltzer
                                                     Marc M. Seltzer
  19
                                                   Marc M. Seltzer (54534)
  20                                               mseltzer@susmangodfrey.com
                                                   SUSMAN GODFREY L.L.P.
  21                                               1900 Avenue of the Stars, Suite 1400
                                                   Los Angeles, CA 90067
  22                                               Tel: (310) 789-3100
                                                   Fax: (310) 789-3150
  23
                                                   Arun Subramanian (Pro Hac Vice)
  24                                               asubramanian@susmangodfrey.com
                                                   William C. Carmody (Pro Hac Vice)
  25                                               bcarmody@susmangodfrey.com
                                                   Seth Ard (Pro Hac Vice)
  26                                               sard@susmangodfrey.com
                                                   Tyler Finn (Pro Hac Vice)
  27                                               tfinn@susmangodfrey.com
                                                   SUSMAN GODFREY L.L.P
  28                                               1301 Avenue of the Americas, 32nd Fl.
                                                   New York, NY 10019
                                                   Tel: (212) 336-8330
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                                              Fax: (212) 336-8340
   1
                                              Ian M. Gore (Pro Hac Vice)
   2                                          igore@susmangodfrey.com
                                              SUSMAN GODFREY L.L.P.
   3                                          401 Union Street, Suite 3000
                                              Seattle, WA 98101
   4                                          Tel: (206) 505-3841
                                              Fax: (206) 516-3883
   5
                                              Armstead Lewis (Pro Hac Vice)
   6                                          alewis@susmangodfrey.com
                                              SUSMAN GODFREY L.L.P.
   7                                          1000 Louisiana, Suite 5100 Houston,
                                              TX 77002
   8                                          Tel: (713) 651-9366
                                              Fax: (713) 654-6666
   9
                                              Scott Martin (Pro Hac Vice)
  10                                          smartin@hausfeld.com
                                              HAUSFELD LLP
  11                                          33 Whitehall Street, 14th Floor
                                              New York, NY 10004
  12                                          Tel: (646) 357-1100
                                              Fax: (212) 202-4322
  13
                                              Christopher L. Lebsock (184546)
  14                                          clebsock@hausfeld.com HAUSFELD
                                              LLP
  15                                          600 Montgomery St., Suite 3200
                                              San Francisco, CA 94111
  16                                          Tel: (415) 633-1908
                                              Fax: (415) 633-4980
  17
                                              Sathya S. Gosselin (269171)
  18                                          sgosselin@hausfeld.com
                                              Farhad Mirzadeh (Pro Hac Vice)
  19                                          fmirzadeh@hausfeld.com
                                              HAUSFELD LLP
  20                                          888 16th Street, N.W., Suite 300
                                              Washington, DC 20006
  21                                          Tel: (202) 540-7200
                                              Fax: (202) 540-7201
  22
                                              Howard Langer (Pro Hac Vice)
  23                                          hlanger@langergrogan.com
  24
                                              Edward Diver (Pro Hac Vice)
                                              ndiver@langergrogan.com
  25                                          Peter Leckman (235721)
                                              pleckman@langergrogan.com
  26                                          Kevin Trainer (Pro Hac Vice)
                                              ktrainer@langergrogan.com LANGER
  27                                          GROGAN AND DIVER PC 1717
                                              Arch Street, Suite 4020 Philadelphia,
  28                                          PA 19103
                                              Tel: (215) 320-5660
                                              Fax: (215) 320-5703
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   1                                          Plaintiffs’ Co-Lead Counsel

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